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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,

       v.                                             No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., and CHANGPENG ZHAO,

                          Defendants.



                                               Errata

       The reply brief filed at ECF 190 by Defendants Binance Holdings Limited (“BHL”) and

Mr. Changpeng Zhao inadvertently omitted Exhibit A, which is referenced at page 2, footnote 1

of the brief. Defendants accordingly re-file this corrected version of the reply brief, which includes

Exhibit A.
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Dated: December 12, 2023           Respectfully submitted,


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